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                             ACKNOWLEDGMENTS

         I have read this agreement and carefully reviewed every part of it
    with my attorney. I fully understand it and I voluntarily agree to it.

    .)
              &:
    Date                                        arry Hartman
                                               Defendant

          I am the defendant's counsel. I have carefully reviewed every part
    of this agreement with the defendant. To my knowledge, my client's
    decision to enter into this agre ement i.s an informed and volunt arv one.

         Ell,Ire
    Date                                       Christoph A. EIIO
                                               Counsel for Defendant



                                               JOHN C. GTIRGANUS
                                               Acting United States Attorney


/        _r-, s-                       By:
    Date                                       K. Wesley Mish
                                               Assistant Uni d States Attorney




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